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v. NO. 4117'<:1<~1 s-A

TYLER JAMEs LEvnRETT `(04)
FACTUAL RESUME

SUPERSEDING INFORMATION: Cotlnt One: Conspiracy to Possess With Intent to
Distribute a Controlled S_ubstanee (rnetharnphetarnine) (in violation of
21 U.S.C. § 846, and 21 U.S.C. §§ 84l(a)(l) and (b)(l)(B))

PENALTY: $5,000,000 fine - not less than 5 years imprisonment and not more than 40
years imprisonment, or both such fine and imprisonment, plus a term of
supervised release of not less than 4 years

MAXIMUM PENALTY:
$5,000,000 fine and not less than five (5) years nor more than forty (40)
years imprisonment, plus a term of supervised release of not less than 4
years It` the defendant violates any condition of supervised release, the
Court may revoke such term of supervised release and require the defendant
to serve an additional period of confinement Further the Court must
impose a Mandatory Special Assessment of $100.00.

ELEMENTS OF THE OFFENSE:
'Fhe essential elements Which must be proved beyond a reasonable doubt in order to
establish the offenses charged in Count One of the Int`orrnation are as fclloWs:

First: That two or more persons, directly or indirectly, reached an agreement to
distribute or possess With intent to distribute a controlled substanee, as
charged in the information;

Second: That the defendant knew of the unlawful purpose of the agreement

Third: 'I`hat the defendant joined in the agreement Willfully, that is, With the intent
to further its unlawful purpose; and

Factual Resanze ~ Page 1

Case 4:17-cr-00198-A Document 135 Filed 10/26/17 Page 2 of 2 Page|D 202

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Fonrth: 'i`hat the overall scope of the conspiracy involved at least 50 grams of a
mixture or substance containing a detectable amount of methamphetamine,
a Schedule ll controlled substance

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sreran FACrs _86 853(\\ §§er 3
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/<In -29 ,Tyle ' ames Leverett recelved multi~ounce quantities of

methamphetamine from .e-~;-;-: n . .-. - . `n, often on consignment

In turn Tyler J ames Leverett distributed methamphetamlne to various customers in the f k
Fort Worth 'i`eXas area, returning to ," '. - ‘ . to
additional methamphetamine In this manner, Tyler J ames Leverett

   
  

   

 

  

 

 

. ~ - -=»=» conspired With each other and others to possess With intent to -T `\__ _
distribute more than 50 grams ot` methamphetamine '
j gwin D§FF\S'&FOU §
T' L’ sIGNED this b day er natel\sf , 2017.
ER J ES LEVERETT JO l\l RAS
l)et`endant Co set r De ndant

Faetual Resume ~ Page 2

